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                                                                                                  es 2e1.
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                                                                                               %- *.(
                              UNITED STATES DISTRICT CO URT                                    ...
                                                                                                     '%'
                                                                                                      t4 w p
                                                                                                      .    2y,
                              SO UTH ERN DISTRICT O F FLO RIDA                             SEALE           la.4o e
                                                                                                               n.
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                            CASE NO .17-80242-CR-ROSENBERG/HUNT
                                                                                       -   NOT SEALED
      UNITED STATES OF AM ERICA

                                                                        PerLocalRule5.4(d),thematterts)
                                                                        shallrem ain sealed.
      ALEJANDRO ANDRADE CEDENO ,
                                                                              years;     (specificdatel;
             Defendant.                                                       permanently;       (other).
                                            /

                             PRELIM INA RY ORDER OF FO RFEITURE

             THIS CAUSE is before the Courtupon motion ofthe United States ofAmerica (the
      GunitedStates'')forentryofaPreliminaryOrderofForfeitureforaforfeituremoneyjudgmentin
      theamountofintheamountof$1billion inU.S.currency,andtheforfeitureofcertain assetsin
      partialsatisfaction thereof. Being fully advised in the prem isesand based on the United States'

      Unopposed M otion for Prelim inary Orderof Forfeiture,and M em orandum of Law in Support

      Thereof,therecord in thismatter.and forgood cause show n thereby,theCourtfindsasfollow s:

                    OnDecember22,2017,DefendantAlejandroAndradeCedeno(theçtDefendanf')
      pleaded guilty to a single-count lnfonnation,which charged him w ith conspiracy to violate 18

      U.S.C.j 1957.thatis,to knowingly engageand atlemptto engage in monetary transactionsby,
      through,or to a Gnancialinstitution, affecting interstate and foreign com m erce, in crim inally

      derived property of a value greater than $10,000,such property having been derived from a

      speciGedunlawfulactivity(i.e.aviolationoftheForeignCorruptPracticesAct,inviolationof15
      U.S.C.#78dd-3).in violation of 18 U.S.C.j l956(h). See Information;Plea Agreement!T2.
      See also Consentto Forfeiture ! l,attached to U.S.'S Unopp.M ot.for Preliminary Orderof
      Forfeiture.

                    In a written Plea Agreement,the Defendantagreed,am ong otherprovisions,to the
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      following'
               .
            11.    The defendant agrees to forfeit to the United States voluntarily and
            immediatelyaIlproperq,realorpersonal,involvedintheviolationofTitlel8,
            UnitedStatesCode,Sectlon 1956(h)chargedinthelnfonnation,propertytraceable
            to such property,and/orproperty thatconstitute substitute assets,pursuantto Title
            l8,United StatesCode,Section982(a)(1)andTitle21,UnitedStatesCode,Section
            853(p). Thedefendantagreesthatsuchpropertyincludes,butisnotlimitedto,a
            sum equalin value to the totalam ount laundered to,by,and/or forthe benefstof
            the defendantaspartofthecharged conspiracy,which theU nited Statesm ay seek
            asaforf-
                   eituremoneyjudgment. Thedefendantadmitsandagreesthattheconduct
            described in the Information and FactualProfferprovides a sufficientfactualand
            statutory basisfortheforfeiture soughtby theGovernment.

            12.    Thedefendantagreesto waiveany appealofthe forfeiture. Thedefendant
            waivestherequirementsofRules32.2 and43(a)oftheFederalRulesofCriminal
            Procedure regarding notice ofthe forfeiture in the lnformation,announcem ent of
            the forfeitureatsentencing,and incorporation ofthe forfeiture in thejudgment.
            The defendantalso waivesany failure by the Courtto advise the defendantofany
            applicable forfeiture atthe tim e the guilty plea is accepted as required by Rule
             l1(b)(1)(J)ofthe FederalRulesofCriminalProcedure. The defendantfurther
            agrees to waive any applicable tim e lim its for the initiation of adm inistrative or
            judicialforfeiture proceedingsand/orfurthernotification ofany such forfeiture
            broughtagainstthe property soughtforforfeiture.
             13.    The defendant also agrees to assist the Government in allproceedings,
            administrativeorjudicial,involvingforfeituretotheUnitedStatesofanyproperty,
            including substitute property,regardless of its nature or form ,realor personal,
            which thedefendantorothersknowntothe defendant,have accum ulated asa result
            ofillegalactivities. The defendantagreesthattheUnited Statesshall,atitsoption,
            beentitledtoforfeitureofanyproperty(substituteassets)ofthedefendanttosatisfy
            theforfeituremoneyjudgment. ThedefendantagreesthatallelementsofTitle21,
            United States Code,Section 8531)have been satisfied. The defendantfurther
             agreesto takealIstepsnecessary to locate property thatcould beused to satisfy the
            forfeiture money judgmentand to pass title to the United States before the
            defendant's sentencing. To that end,the defendant agrees to fully assist the
            Government in the recovery and return to the United States of any assets, or
            portionsthereof,wherever located.The assistance shallinclude:identification of
             anypropertysubjecttoforfeiture,agreementtotheentryofanorderenjoiningthe
             transferorencumbrance ofsuch property,and the transferorrepatriation ofsuch
             property to the United States by deiivery to the Government, upon the
             Governm ent's request,any necessary and appropriate docum entation, including
             consentsto forfeiture and quitclaim deeds,to delivergood and m arketable title to
             such property. The defendant understands that failure to transfer or repatriate
             propertysubjecttoforfeituremayresultinanobstructionofjusticeenhancement
             atsentencing.
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             l4. The defendant further understands that forfeiture is independent of any
            assessm ents,fines,costs,restitution,orany otherpenalty thatm ay be im posed by
            the Court. Thedefendantknow ingly and voluntarily waivesany claim ordefense
            he may have under the Eighth Am endment to the United States Constitution,
            including any claim of excessive fine or penalty with respect to the forfeited
            property.

            l5. The defendantagreesto make fulland accurate disclosure ofhis financial
            affairs to the Government,and expressly authorizes the G overnmentto obtain a
            creditreport. The defendantagreesthatw ithin l0 calendardaysofhischange of
            plea and upon rcquestofthe Govenlment,thedefendantshallsubm ita completed
            FinancialDisclosure Statement(form provided by the United States),and shall
            fully disclose and identify allassetsin which he hasany interestand/oroverwhich
            the defendantexercises control,directly or indirectly,including those held by a
            spouse,nom inee,orotherthird party.

      SeePleaAgreement!! l1-15. SeealsoConsenttoForfeiture$2.
                    As set forth in the FactualProffer subm itted in support of his guilty plea,the

      DefendantwastheVenezuelanN ationalTreasurerfrom approximately 2007to2011. SeeFactual

      Proffer!(3. ByvirtueofhisoflicialpositionastheVenezuelanNationalTreasurer,theDefendant
      hadtheabilityto intluencem atlersrelated to thebolivarto U.S.dollarexchangeprocess,including

      deciding which brokerage housesreceived governm entauthorization to conductthese exchanges

      ata fixed exchangerate established bythe Venezuelan government. 16l!6. SeealsoConsent
      toForfeiture! 3.
                    From approxim ately 2007 through Janual'
                                                           y 2011,the Defendantagreed to accept

      bribesfrom co-conspirators in exchange forselecting them to carry outthe U.S.dollarto bolivar

      exchange process with the Venezuelan National Treasury, or Oficina N acional de1 Tesoro

      (:$ONT''),which allowed those co-conspirators to obtain substantialprofits on the exchange
      transactions. SeeFactualProffer! 7. SeealsoConsentto Fodkiture! 4.
                    From 2007 to the present, when the Defendant requested, at Ieast three co-

      conspirators would transfer orcause the transfer of funds to purchase property and pay for his


                                                   3
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      expensesin the Southern DistrictofFloridaand elsewhere. See Consentto Forfeiture!(5. See
      alsoFactualProfferjjl0-12;PresentenceInvestigationReport,June l5,20l8,!60. Together,
      thesethree co-conspiratorstold the Defendantthatthey held orare holding Venczuelan bondsand

      otherassetsvalued atapproximately $1 billion in U.S.cunrncy during thistime period forthe

      Defendant'sbenefit. SeeConsenttoForfeiture!5.
             6.     The Defendant has consented and agreed to the entry of a Forfeiture M oney

      Judgmentin theamountofatleast$1billion,which isequalto thetotalvalueoftheproperty,
      realor personal,laundered to,by,and/or tbr his benetltand involved in the money laundering

      conspiracy charged in the Infonnation,and property traceable to such property. See Consentto

      Forfeiture!7.
                    ln partial satisfaction of such Forfeiture M oney Judgm ent,the Defendanthas

      consented and agreed to the forfeiture ofthe follow ing specific property,am ong otherproperty,

      thathe obtained,directly and indirectly,asa resultofthe charged m oney laundering conspiracy,

      orwasusedtopurchase,improve,and/ormaintainassetsfortheDefendant'sbenefit(collectively,

      theçtsubjectAssets''l:
             FinancialAccounts
             (l)    Allassetsondepositinaccountnumber0209551AA heldinthenameof,orforthe
                    benefltoftAlejandroAndradeatBSIBankin Switzerland;
             RealEstate
             (2)    15231Sunnyland Lane,W ellington,Florida33414;
             (3)    15680 and 1574046th LaneS,W ellington,Florida33414;
             (4)    1290N.OceanBoulevard,Palm Beach,Florida33480;
             (5)    l6912Crown BridgeDrive,DelRayBeach,Florida33446;
             (6)    15159Sunnyland Lane,W ellington,Florida33414;
             (7)    l2789M eadowbreezeDrive,W ellington,Florida33414;i
       lApproximately $100,000 ofthe$250,000purchasepriceforthispropertywasfundedbyoneof
      the Defendant's co-conspirators;however,the rem aining portion was funded by the Defendant's
      wifeand herfam ily. In recognition ofthepotentialthird-party claim sto such property,theUnited
      StateshasagreedthatiftheCourtgrantstheproposed preliminaq forfbiture,theUnited States
      would filea noticeoflispendensand only pursue finalforfeiture oflts interestin therealproperty
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             Vehicles
             (8)    2017 M ercedes Benz GLS 550, Vehicle ldentification Number ($tVlN '')
                    4JGDF7DE8HA893079;
             (9)    20l7M ercedesBenzAM G G-63;
             (10)   20l7CadillacEscalade,Vm lGYS4KKJ4HR135l74;
             (11)   2016 PorscheCayenne,VIN W P1AC2A26GLA86557;
             (12)   2016ChevyTahoe;
             (13)   2016MercedesBenzAMG S-63,Vm W DDXJ7JB3GA012139
             (14)   2015Bentley ContinentalConvertible,Vm SCBGJ3ZA2FC044777;
             (15)   2015ChevroletSilverado2500,Vm lGC4KYC83FFl80852;
             (16)   2014 DodgeRam 3500;
             (17)   2013Toyota4Runner,VIN JTEZU5JR4D5048434;
             (18)   2009 CimarronHorseTrailer,VIN 5PA14G34249C006294;
             (19)   Lawnmower/tractor;
             (20)   Threc(3)golfcarts;
             Horses
             (21)     AnastasiaDu Park;
             (22)     Bonjovi;
             (23)     BoyIV;
             (24)     Clouwni;
             (25)     Cortina l86;
             (26)     Dipssy;
             (27)     Hardrock Z;
             (28)     Jenni'sChance;
             (29)     Joly Jumper;
             (30)     Leonardo RGS;
             (31)     NokiadeBrekka;
             (32)     QuilinaVD LaarseheideZ;
             (33)     ReusdelaNutria;
             (34)     RicoreCourcelle;
             (35)     TupacVandeVrombautshoeve2;
             (36)     U;
             (37)     TinkerBell;
             Watches
             (38) Rolex Daytona Cosmograph (platinum)watch,reference C:Ref') 116506,
                  serialnumber(çûSN'')L900U410;
             (39) Rolex Yacht-Mastcr11(white gold and platinum)watch,Ref116689,SN
                      V773093;
             (40) RolexSky-Dweller(yellow gold)watch,Ref326938,SN 58W365Z2;
             (41) HublotBlg Bang King (rose gold and black dial)watch,Ref 322,SN
                      762177;
             (42) HublotBig Bang King Black Magic (black titanium and ceram ic)watch,
       ifthatproperty issold.
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                  Ref322,SN 737211;
           (43) HublotBig Bang Chronography Tourbillon 20th Anniversary of Ferrari
                watch,Limited 4of20,Ref308.QX.l1IO-HR.SCFII,SN 930027;
           (44) HublotKing Power(black titanium and ceramic)watch.Limited 8 of35,
                  SN 860397;
           (45) HublotBig Bang UEFA (black titanium andceramic)watch,Limited l557
                  of2008,Ref318,SN 739956;
           (46) HublotBig BangYankeeVictor(stainlesssteel)watch,Limited29ofl00,
                  Ref301,SN 689869;
           (47) HublotKing Power(titaniuln and zirconium,rubberband)watch,Limited
                  244 of500,SN 823700;
            (48) HublotKinjPowerLavinotintoChronograph(blacktitanium andceramic)
                  watch,Lim lted 11of40,SN 977783;
            (49) Patek Philippe Nautilus (stainless steel) watch, Ref 5990   1A-001,
                  M ovementNo 5998681,SN A384FBC;
            (50) Patek PhilippeNautilusAnnualCalendar(stainlesssteel)watch,Ref5726/
                  lA-001,M ovem entNo 5334786,SN A384FA P;
                  Patek PhilippeNautilusmanual(rosegold and stainlesssteel)watch,Ref
                  5980 lIA R-OOI,M ovem entNo 5928544,SN A3841A P;
            (52) AudemarsPiguetRoyalOak Offshore Chronograph (rose gold and black
                 rubberband)watch,Ref3850,SN 629840;
            (53) AudemarsPiguetRoyalOak Offshore SafariChronograph (stainlesssteel
                 andbrownband)watch,No 5446,Ref26170,SN G43443;
            (54) AudemarsPiguetRoyalOakOffshoreChronograph BumbleBee (carbon)
                  watch,N o 2376,Ref26176,SN 48097;
            (55) AudemarsPiguetRoyalOakOffshore(stainlesssteel)watch,No l836,Ref
                  26170,SN G 17332;
            (56) RogerDubuis E>sy DiverTourbidiver(stainlesssteel)watch,M ovement
                  No RD05,SN 13/88;
            (57) RogerDubuisM uchM ore(rosegold)watch,SN 23/28,stamped750;
            (58) PaneraiLuminorM onopulsanteGM T Chronograph (titanium andceramic)
                  watch,Lim ited 1,005of500,No 0P6752,RefPAM 003l7,SN 881458977)
            (59) PaneraiLuminorSubmersible DiversProfessional(stainlesssteel)watch,
                  Lim ited .
                           1459 of700,N o OP670l,SN 881253185;
            (60) PaneraiLuminor(stainlesssteel)watch,Limited Kl98of500,No0P6726,
                   SN P80596207;
            (61) lW C PilotSpitfireChronograph PerpetualCalendar(yellow gold)watch,
                  N o AU750,Ref1W 379103,SN 5074132;
            (62) JaegerLe Coultre MasterCompressorDiving GM T watch,Ref159.1.05,
                   SN 2471271;
            (63) Jaeger Le Coultre M aster Compressor Diving Chronograph (rose gold)
                   watch,Ref 160.2.25,SN 2469332;
            (64) Jaeger Le Coultre Master Grande Tradition Minute Repeater manual
                 (titanium)watch,Limited65of100,Ref.187.7-.67.5,SN 2653359)
            (65) FrankM ullerCasablanca(stainlesssteel)watch,No I018,Ref8885 C CC
                   DT;


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             (66) FrankM ullerM ariner(stainlesssteeland rcd dial)watch,No 69,Ref908
                    CC AT M ar;
             (67) Frank M ullerM arinerChronograph (stainlesssteelandbluedial)watch,No
                    29,Ref8080 CC AT M ar;
             (68) FrankVilaTourbillon PlanetaireSkeleton SuperLigero Concept(titanium)
                    watch,Lim ited 3of8,RefFVA N6;
             (69) FrankVilaChronograph(titanium)watch,Limited3 of48,RefFVA IO;
             (70) Greubel Forsey GM T Global Double Tourbillon (white gold) watch,
                    Limitçd28 of33,RefGF GMT W G,stampedAU750 02669;
                    IW C Schaffhausen Big PilotAntoinedeSaintExuperyEdition(rosegold)
                    watch,Lim ited 35of500,Ref1W 500421,SN 3427442;
             (72) RolexDaytonaCosmograph(yellow goldandbluedial)watch,Refl16528,
                    SN 52UM 9527;

             JpMorgan ChaseBankN.A.W nitedStates)
             (75) Accountnumber000000941600959 held inthenameofDobleA Records
                    USA LLC atJpM organ Chase Bank N .A .;

             BankofAmerica (UnitedStates)
             (76) Account number 898060394243 held in the name of Telsey Properties
                    Holding LLC atBank ofAm erica;
             (77) Accountnumber898061778088heldinthenameofDoble A M anagement
                    LLC atBank ofAmerica;
             (78) Accountnumber898061778091held inthenameofDobleA Farm,LLC at
                    Bank ofAm erica;
             (79) Accountnumber898039362866heldinthenameofMalabarManagement
                    LLC atBank ofAm erica;

             WellsFargo Bank(UnitedStates)
             (80) Accountnumber5340241792 held in thename ofM alabarM anagement,
                    LLC atW ellsFargo Bank;
             (81) Account number 5536404915 held in the name of Telsey Properties
                    Holding,LLC atW ellsFargo Bank;and

             EFG Bank(Switzerland)
             (82) Account number C1447084680000114931 held in the name of Telsey
                    M anagerslnternationalInc.atEFG Bank in Sw itzerland.

      SeeConsenttoForfeiture!!5-6,8.
             8.     Based on the Defendant'sguilty plea,the PleaA greem ent,theFactualProffer,the

       Presentence Investigation Report,and the Consentto Forfeiture,the totalvalue ofthe property,

       realorpersonal,laundered to,by,and/orforthe Dcfendant's benefitand involved in the m oney
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      Iaundering conspiracy charged in the Infbrm ation was at least $l billion in LJ.S. currency.
                             d
      Pursuantto Rule 32.2 ofthe FederalRulesofCrim inalProcedure,this sum m ay be soughtas a

      forfeituremoneyjudgment.
                   In addition, because the SubjectAssets were involved in the Defendant's
      conspiracytocommitmoneylaunderingchargedinthelnformation,theyaresubjecttoforfeiture,
      pursuantto 18U.S.C.j982(a)(1).
            TH EREFO RE,theUnited States'Unopposed M otion forPrelim inary OrderofForfeiture

      isGR ANTED,and itishereby O RDERED that:

                   Pursuantto l8 U.S.C.j982(a)(l),21U.S.C.j853,and Rule 32.2 oftheFederal
      RulesofCriminalProcedure,a forfeiture money judgmentin the amountof$1 billion in U.S.
      currency($1,000,000,000.00)isherebyenteredagainstDefendantAlejandroAndradeCedeno.
                   Pursuantto l8 U.S.C.j982(a)(1),the following assetsare hereby forfeited and
      vestedintheUnitedStatesofAmericainpartialsatisfactionofsuchforfeituremoneyjudgment:
            RealEstate
            (1)    15231 Sunnyland Lane,W ellington,Florida 33414, including alIbuildings,
                   fixtures,appurtenances,improvements,attachments and easem ents found therein
                   orthereon,and which ism ore fully described as:

                   Lot l9,Block 5,PALM BEACH POINT,according to the m ap orplatthereofas
                   recorded inPlatBook 33.Page l33,PublicRecordsofPalm Beach County,Florida;
                   ParcelIdentification N um ber:73-41-44-19-01-005-0190;

            (2)    15680 and 15740 46th Lane S, W ellington, Florida 33414, including all
                   buildings, fixtures, appurtcnances, improvem ents, attachm ents and easem ents
                   found therein orthereon,and which arem ore fully described as:

                   A parcelofland Iying in Section 30,township 44 South,Range 41,Palm Beach
                   county,Florida being described as follow s:ELY 311.76 FT OF W LY I858.58 FT
                   LYG S & ADJTO PALM BEACH POINT A S IN P83317133 & N & ADJTO C-
                   27 W W A/IU A TR 5,PublicRecordsofPalm Beach County,Florida;
                   Parcelldentification Num ber:73-41-44-30-00-000-7010;and

                   A parcelof land lying in Section 30,township 44 South,Range 4l,Palm Beach


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                 county,Florida being described asfollows:W LY 311.76 FT OF ELY4l0l.38 FT
                 OF TH PT OF SEC LYG N OF & A DJTO (2-27 CN I,W W & SOF & PA RALLEL
                 TO LTS 12 & l3,Public RecordsofPalm Beach County,Florida;
                 ParcelIdentificationN umber:73-41-44-30-00-000-7050;

                 1290 N.O cean Boulevard,Palm Beach,Florida 33480,including alIbuildings,
                 fixtures,appurtenances,im provem ents,attachm entsand easem ents found therein
                 orthereon,and which ism ore fully described as:

                 TheNorth 33.89feettoLot25-A and ALL ofLot26-A ofBELLO LII)O ,according
                 to the Platthereof,asrecorded in PlatBook l1,atPage 37,ofthe Public Records
                 ofPalm Beach County,Florida;and Lot4 ofRe-platofBELLO LIDO,according
                 to the Platthereof,as recorded in PlatBook 24,atPage l7l,ofthe Public Records
                 ofPalm Beach County,Florida;
                 ParcelIdentiGcation N um ber:50-43-43-03-06-000-0251;

           (4)   16912 Crown Bridge Drive, DeI Ray Beach,Florida 33446,including all
                 buildings, Gxtures, appurtenances, improvem ents, attachm ents and easem ents
                 found therein orthereon,and which ism ore fully described as:

                 Lot 159,Bridges- PlatFour,according to the m ap ofplatthereofas recorded in
                 Platll5paje56,publicrecordsofPalm BeachCounty,Florida;
                 ParcelIdentlfication N um ber:00-42-46-29-10-000-1590;

           (5)   15159 Sunnyland Lane,W ellington,Florida 33414, including all buildings,
                 Gxtures,appurtenances,improvements.attachments and easements found therein
                 orthereon,and which ism ore fully described as:

                 Lots20 & 21,Block 5,PALM BEA CH POm T,accordingtothem ap orplatthereof
                 as recorded in Plat Book 33, Page l33,Public Records of Palm Beach County,
                 Florida;
                 ParcelIdentifcation Number:73-41-44-19-01-005-0200;

           (6)   12789M eadowbreezeDrive,W ellington,Florida33414,includingallbuildings,
                 Gxtures,appurtenances,im provem ents,attachm entsand easements found therein
                 orthereon,and which ismorefully described as:

                 Lot 150,M EADOW LAND COVE - PLAT NO .1 OF W ELLINGTON - P.U.D.,
                 according to the Platthereof,on f5le in the Oftice ofthe Clerk ofthe Circuitcourt
                 in and forPalm Beach County,Florida,as recorded in PlatBook 58,Page9;
                 Parcelldentification Number:73-41-44-09-04-000-1500;

           Vehicles
           (7)   2017 M ercedes Benz GLS 550, Vehicle Identification Number (<tVm '')
                 4JGDF7DE8HA 893079;
           (8)   2017 MercedesBenzAM G G-63;


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            (9) 20l7CadillacEscalade,VlN IGYS4KKJ4HRI35174;
            (10) 2016 PorscheCayenne,Vm W P1AC2A26GLA86557;
            (11) 2016 Chevy Tahoe;
            (12) 2016MercedesBenzAMG S-63,VX WDDXJ7JB3GA0l2l39
            (13)   20l5BentleyContinentalConvertible,Vm SCBGJ3ZA2FC044777;
            (14)   2015ChevroletSilverado2500,VIN 1GC4KYC83FF180852;
            (15)   2014 DodgeRam 3500;
            (16)   2013Toyota4 Runner,VIN JTEZU5JR4D5048434;
            (17)   2009CimarronHorseTrailer,VIN 5PA1-1634249C006294;
            (18)   Lawnmower/tractor;
            (19)   Three(3)golfcarts;
            Horses
            (20)   AnastasiaDu Park;
            (21)   Bonjovi;
            (22)   Boy IV;
            (23)   Clouwni;
            (24)   Cortina 186;
            (25)   Dipssy;
            (26)   HardrockZ;
            (27)   Jenni'sChance;
            (28)   JolyJumper;
            (29)   Leonardo RGS;
            (30)   NokiadeBrekka;
            (31)   QuilinaVD LaarseheideZ;
            (32)   ReusdelaNutria;
            (33)   RicoreCourcelle;
            (34)   TupacVandeVrombautshoeve2;
            (35)   U;
            (36)   TinkerBell;
            Watches
            (37) Rolex Daytona Cosmograph (platinum)watch.reference CkRef'') 1l6506,
                 serialnumberC:SN'')L900U410;
            (38) Rolex Yacht-Master11(whitegold and platinum)watch,Ref l16689,SN
                   V773093;
            (39) Rolex Sky-Dweller(yellow gold)watch,Ref326938,SN 58W 365Z2;
            (40) HublotBig Bang King (rose gold and black dial) watch,Ref 322,SN
                   762177;
            (41) HublotBig Bang King Black Magic (black titanium and ceramic)watch,
                   Ref322,SN 737211;
            (42) HublotBig Bang Chronography Tourbillon 20th Anniversary of Ferrari
                 watch,Limited4of20,Ref308.QX.11IO.HR.SCFII,SN 930027;
            (43) HublotKing Power(black titanium and ceramic)watch,Limited 8of35,
                   SN 860397;
            (44) HublotBigBangUEFA (blacktitanium and ceram ic)watch,Limited 1557


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                  of2008,Ref3I8,SN 739956;
            (45) HublotBigBangYankeeVictor(stainlesssteel)watch,Limited29of100,
                  Ref301,SN 689869;
            (46) HublotKing Power(titanium and zirconium,rubberband)watch,Limited
                  244 of500,SN 823700;
            (47) HublotKing PowerLavinotintoChronograph(blacktitanium andceramic)
                  watch,Lim ited 1lof40,SN 977783;
            (48) Patek Philippe Nautilus (stainless steel) watch, Ref 5990 / 1/*-001,
                  M ovem entNo 5998681,SN A 384FBC;
            (49) PatekPhilippeNautilusAnnualCalendar(stainlesssteel)watch,Ref5726/
                  1A-00l,M ovementNo 5334786,SN A384FAP;
            (50) Patek PhilippeNautilusmanual(rose gold and stainlesssteel)watch,Ref
                  5980 /1A R-00l,M ovementNo 5928544,SN A3841A P;
                 AudemarsPiguetRoyalOak Offshore Chronograph (rose gold and black
                 rubberband)watch,Ref3850,SN G29840;
            (52) AudemarsPiguetRoyalOak Offshore SafariChronograph (stainlesssteel
                 and brown band)watch,No5446,Ref26l70,SN G43443;
            (53) AudemarsPiguetRoyalOak Offshore ChronographBumbleBee(carbon)
                  watch,N o 2376,Ref26176,SN 48097;
            (54) AudemarsPiguetRoyalOakOffshore(stainlesssteel)watch,No l836,Ref
                  26170,SN G l7332;
            (55) RogerDubuisEasy DiverTourbidiver(stainless steel)watch,M ovement
                  No RD05,SN 13/88;
            (56) RogerDubuisM uch More(rosegold)watch,SN 23/28,stamped750;
            (57) PaneraiLuminorMonopulsanteGM T Chronograph(titanium andceramic)
                  watch,Lim ited 1.005of500,No 0P6752,RefPAM 00317,SN 881458977;
            (58) PaneraiLuminorSubmersible DiversProfessional(stainlesssteel)watch,
                  Lim ited .
                           1459 of700,N o OP670l,SN 881253185;
            (59) PaneraiLuminor(stainlesssteel)watch,Limited Kl98of500.No0P6726,
                  SN P80596207;
            (60) IW C PilotSpitfreChronograph PemetualCalendar(yellow gold)watch,
                  No A U750,Ref1W 379103,SN 5074132;
                  JaegerLe Coultre M asterCom pressorDiving GM T watch,Ref 159.7-.05.
                  SN 2471271;
            (62) JaegerLe Coultre MasterCompressor Diving Chronograph (rose gold)
                  watch,Ref 160.2.25,SN 2469332;
            (63) Jaeger Le Coultre Master Grande Tradition M inute Repeater manual
                 (titanium)watch,Limited65of100,Ref.187.7-.67.5,SN 2653359;
            (64) Frank M ullerCasablanca(stainlesssteel)watch,No 1018,Ref8885C CC
                  DT;
            (65) Frank M ullerM ariner(stainlesssteeland red dial)watch,No 69,Ref908
                  CC AT M ar;
            (66) Frank MullerM arinerChronograph(stainlesssteelandbluedial)watch,No
                  29,Ref8080 CC AT M ar;
            (67) Frank VilaTourbillon PlanetaireSkeletonSuperLigero Concept(titanium)
                  watch,Lim ited 3 of8,RefFVA N6;


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             (68) FrankVilaChronograph(titanium)watch,Limited 3of48,RefFVA l0;
             (69) Greubel Forsey GM T Global Double Tourbillon (white gold) watch,
                     Lim ited 28 of33,RefGF GM T W G,stamped A U750 02 669;
             (70) IW C Schaffhausen Big PilotAntoinedeSaintExupery Edition (rosegold)
                     watch,Lim ited 35 of500,Ref1W 500421,SN 3427442;
                     RolexDaytonaCosmograph(yellow goldandbluedial)watch,Ref116528,
                     SN 5217M 9527;

             FinancialAccounts
             (72) Allassetsondepositinaccountnumber0209551AA heldinthenameof,orforthe
                  benefitof,AlejandroAndradeatBSlBankinSwitzerland;
             (73) A1lassetson depositinaccountnumber000000941600959heldinthename
                     ofDobleA Records USA LLC atJpM organ Chase Bank N .A .;
             (74) Al1assetsondepositinaccountnumber898060394243heldinthenameof
                     Telsey Properties Holding LLC atBank ofAmerica;
             (75) Allassetsondepositinaccountnumber898061778088heldinthenameof
                     Doble A M anagem entLLC atBank ofAm erica;
             (76) Allassetsondepositinaccountnumber898061778091held inthenameof
                     Doble A Farm ,LLC atBank ofAm erica;
                     A llassetson depositin accountnum ber898039362866 held in the nam eof
                     M alabarM anagementLLC atBank ofAm erica;
             (78) AI1assetson depositin accountnumber5340241792 held in the nameof
                     M alabarM anagcm ent,LLC atW ellsFargo Bank;
                     Allassets on deposit in accountnum ber 5536404915 held in the name of
                     Telsey Properties Holding,LLC atW ellsFargo Bank;and
             (80) A1lassetson depositin accountnumberCH47084680000114931held in
                     the nam e of Telsey M anagers lntem ational Inc. at EFG Bank in
                     Switzerland.
                     An agent of Hom eland Security Investigations, or any duly authorized law

      enfOrcementagencysm ay SeiZe,take possession,and dispose ofthe forfeited property according

      to law .

             4.      TheUnited Statesshallsend and publish noticeoftheforfeiturein accordance with

      Rule32.2(b)(6)oftheFederalRulesofCriminalProcedureand 21U.S.C.j 853(n).
                     TheUnited Statesisauthorized,pursuantto Rule32.2(b)(3),(c)(1)oftheFederal
      Rules of CriminalProcedure and 21 U.S.C.j 853(m),to conductany discovery necessary,
      including depositions,to identify,locate ordisposeoftheforfeited property orin orderto expedite

      ancillary proceedingsrelated to any third-party petition.


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                   Pursuantto Rule32.2(b)(4)oftheFederalRulesofCrim inalProcedure,thisOrder
       isfinalastoDefendantAlejandroAndradeCedeno.
                   TheCourtshallretainjurisdictioninthismatterforthepulposeofenforcingthis
       Order.




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             DONE A ND ORDERED inlliam i,Florida,this          day ofN ovem ber,2018.




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                                                     ON .ROBIN L.ROSEN ERG
                                                    UNITED STATES DISTRICT JUD GE




       cc: NalinaSombuntham,AssistantU.S.Attorney (2 certifiedcopies)




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